               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                  :         No. 1:07-CR-00104
                                          :
             v.                           :         (Judge Brann)
                                          :
OLLIE REAVES                              :         (Electronically Filed)


            REPLY BRIEF IN SUPPORT OF A RESENTENCING HEARING

I.    INTRODUCTION

      Despite conceding that Ollie Reaves is eligible for a substantial sentence

reduction, the Government argues that this Court—not the original sentencing

judge—should resentence Mr. Reaves to serve another 19 years toward a 30-year

term. The Government makes this argument even though Your Honor has never

seen Mr. Reaves, never heard from him in person, nor ever seen or personally

heard from any of his character witnesses.1 A sentencing hearing would establish

that Mr. Reaves is not the man originally sentenced, and he has many people who

wish to offer character testimony on his behalf.

      The Government’s argument that conducting a sentencing hearing would

contravene Congressional intent fails because there is no legislative history of


1
 There are five cases in the Middle District involving individuals who received
mandatory life sentences and are eligible for relief under Section 404 of the First
Step Act. Briefing was recently completed in United States v. Rhines, No. 4:01-
CR-00310, which was reassigned to the Honorable John E. Jones, III.
                                          1
Section 404 of the First Step Act to illuminate such intent. And the Government’s

argument that Your Honor can evaluate Mr. Reaves based solely on written

submissions, in part because he did not express remorse when he was originally

sentenced, ignores the reality that remorse plays no part in a sentence for

mandatory life.2

II.   REPLY ARGUMENT

             A.    A resentencing cannot contravene Congressional intent
                   when none was expressed.

      The Government maintains that a plenary resentencing would contravene

Congressional intent. See (Gov’t Brief at 8). But the Government fails to identify

such intent and none exists. Indeed, the Government has acknowledged as much in

other cases. See, e.g., United States v. Allen, No. 3:06-CR-00149, 2019 WL

1877072, at * 3 (D. Conn. Apr. 26, 2019) (stating that “[b]oth parties agree that no

legislative history is available to document the purpose of section 404”). 3 Instead,

the Government argues that because Section 3582(c)(2) does not permit a full



2
 Interestingly, the Government’s position here differs from the one they recently
advanced in response to Mr. Reaves’pending habeas corpus petition. See Reaves v.
Ebbert, No. 1:19-CV-00138. There, the Government requested and received a stay
of the proceedings by capitalizing on the view that a resentencing under the First
Step Act would moot the habeas case. See id. at Doc’s. 10-11.

3
 See also United States v. Pierre, ___ F. Supp. 3d ___, No. 07-003, 2019 WL
1495123, at * 5 (D.R.I. Apr. 5, 2019) (noting that “there is no legislative history
available on Section 404 to lend clarity to Congressional intent.”).
                                          2
resentencing in the context of a retroactive guideline amendment, the same rule

should apply here. The amendments at issue, however, do not involve the

Guidelines, but the statutory framework. And Congress’ reason for this statutory

change was to further the Fair Sentencing Act’s objective of mitigating the effects

of a sentencing scheme that had a racially disparate impact. See Allen, 2019 WL

1877072, at *3 (citing Dorsey v. United States, 567 U.S. 260, 268 (2012)). What’s

more, when Section 3582(c) was enacted, the Guidelines were mandatory, so

limiting the scope of those proceedings made sense. See Dillon v. United States,

560 U.S. 817, 820, 826 (2010). Indeed, the Court in Dillon emphasized the

substantial role Congress gave the Sentencing Commission for modification

proceedings, and the fact that Section 3582(c)(2) proceedings give judges only

circumscribed discretion. See id. 826, 828.

      But that’s not true here. The reasons that informed Dillon and that limit

Section 3582(c)(2) proceedings do not exist in the Section 404 context. With no

legislative history and given the purpose of the Fair Sentencing Act, the Rule of

Lenity should apply and any doubt about the scope of the proceedings should be

resolved in favor of the defendant. See Allen, 2019 WL 1877072, at *3 (noting the

court’s interpretation of Section 404 is “in keeping with the rule of lenity.”). 4



4
 Accord Pierre, 2019 WL 1495123, at *5 (recognizing that “where a criminal
statute is ambiguous, as it is here, the rule of lenity informs the Court’s decision.”).
                                           3
             B.     The pertinent authority does not support a limited guideline
                    amendment proceeding.

      The Government faults Mr. Reaves for failing to address the pertinent

authority that it says rejects plenary resentencing hearings under Section 404. See

(Gov’t Brief at 11-12). Yet the Government’s authority on the issue is not as

convincing as portrayed. While some cases address the reduction on the record

and filings, others have held resentencing proceedings.

                    1.    The Government’s authority does not preclude Your
                          Honor from conducting a resentencing.

      For example, the Government cites nine cases, three of which are from the

Eastern District of Wisconsin and authored by the same judge. See, e.g., United

States v. Coleman, No. 04-CR-278-pp, 2019 WL 1877229 (E.D. Wis. Apr. 26,

2019); United States v. Glore, No. 99-CR-82-pp, 2019 WL 1761581 (E.D. Wis.

Apr. 22, 2019); United States v. Rivas, No. 04-CR-0256-pp, 2019 WL 1746392

(E.D. Wis. Apr. 18, 2019). In those cases, the court considered, among other

things, whether the First Step Act permitted it to disturb a prior finding that the

defendant was a career offender and concluded that it could not. The Court found

support for its conclusion that the First Step Act does not permit a plenary

resentencing, citing four cases in other districts that the Government also cites. See

United States v. Davis, No. 07-CR-245S, 2019 WL 1054554 (W.D.N.Y. Mar. 6,

2019); United States v. Potts, 2:98-CR-14010, 2019 WL 1059837 (S.D. Fla. Mar.


                                           4
6, 2019); United States v. Sampson, 360 F. Supp. 3d 168 (W.D.N.Y. Mar. 13,

2019); United States v. Haynes, No. 8:08-CR-441, 2019 WL 1430125 (D. Neb.

Mar. 29, 2019).5

      In both Davis and Sampson, however, the new sentence under the First Step

Act was “time served,” thus the nature of the proceeding was, essentially, a moot

point. In Haynes, the court denied relief based on a drug quantity argument and

that case is on appeal to the Eighth Circuit. That leaves Potts, an early case in

which the court determined the defendant “was not entitled to a ‘plenary

resentencing’ and a reconsideration of the drug quantity and career offender

determinations that the Court made at the time of his sentencing.” 2019 WL

1059837, at *2. Although the court found that the defendant had no right to a

“plenary resentencing,” the court still conducted a sentencing hearing with the

defendant present. See (Transcript of Potts resentencing—Ex. “A”).




5
 The Government cites two other cases in which the district courts denied
resentencing hearings. United States v. Glover, ___ F. Supp. 3d ___, No. 95-
08021, 2019 WL 1924706 (S.D. Fla. May 1, 2019) and United States v. Shelton,
No. 3:07-CR-0329, 2019 WL 1598921 (D.S.C. Apr. 15, 2019). In Glover, the
district court denied relief, ruling that the defendant had no right to the application
of Apprendi, but that case is on appeal to the Eleventh Circuit. See United States v.
Glover, No. 19-11742. In Shelton, the district court denied a resentencing hearing,
but lowered the defendant’s sentence based on the written submissions.
                                           5
                   2.     Limiting the resentencing hearings would leave some
                          unconstitutional or illegal enhancements in place.

      The problem with a limited proceeding is one of line drawing. For instance,

should the court continue to apply a mandatory guideline regime for those

sentenced before 2005 and an advisory one for those sentenced after Booker? The

court in Potts concluded that Apprendi and Alleyne could not apply, 2019 WL

1059837, at * 2, but applied Booker to the resentencing hearing, treating the

guidelines as advisory and imposing a downward variance. See (Ex. “A” at 40-41,

48). This sort of constitutional line drawing is, at a minimum, inconsistent with the

purpose of the Fair Sentencing Act. 6

      And if the courts are to apply advisory guidelines, which version applies?

For example, the Guidelines direct the courts to use the most recent Sentencing

Guideline Manual. See USSG § 1B1.11 (2018). But if that’s the case, do the

amendments to the Career-Offender provision apply or those affecting the criminal

history calculation? See, e.g., USSG § 4A1.1, Amend. 742 (2010). These sorts of

questions would plague every case and lead to disparate treatment of similarly

situated defendants.




6
 Moreover, most of courts have held that Apprendi and Alleyne do apply in the
context of the First Step Act. See, e.g., United States v. Ancrum, No. 5:02-CR-
30020, 2019 WL 2110589, at *3 (W.D. Va. May 14, 2019) (collecting cases).
                                         6
                   3.     The relevant authority supports a plenary
                          resentencing.

      The relevant authority is the so-called “pipeline cases” that addressed

whether the Fair Sentencing Act applied to those defendants sentenced after its

enactment, but for offenses that predated its passage. In those cases, the Third

Circuit remanded for resentencing hearings. See, e.g., United States v. Self, 681

F.3d 190, 202-03 (3d Cir. 2012). And where courts have limited the resentencing

to written post-sentence rehabilitation submissions, the Third Circuit reversed.

See, e.g., United States v. Walker, 545 F. App’x 105, 106-07 (3d Cir. 2013) (non-

precedential).

             C.    Your Honor cannot effectively evaluate the relevant Section
                   3553(a) factors without a resentencing hearing.

      The Government maintains that the relevant Section 3553(a) consideration

can be evaluated based on the existing record and written submissions. See (Gov’t

Brief at 13-14). But for three reasons, the Government’s proposal is inconsistent

with due process and unfair.

      First, Your Honor did not sentence Mr. Reaves and thus did not have a

chance to assess his character, background, and the circumstances of the offense.

Rather, the sentencing judge was the Honorable William W. Caldwell, who has

since passed away. More important, an adequate evaluation of Mr. Reaves’

character and background is best served by having him appear before Your Honor


                                          7
and listening to him and anyone who wishes to testify on his behalf. See, e.g.,

United States v. Faulks, 201 F.3d 208, 213 (3d Cir. 2000) (recognizing, even in a

pre-Booker sentencing, that the “presence of a defendant may well affect a judge in

the discharge of this most solemn of duties” and “a judge may enter court of one

mind about what sentence is appropriate in the abstract, only to modify the

pronouncement when faced with a live human being in open court.”).

         Second, the original sentencing proceeding was an academic exercise, as

none of the Section 3553(a) factors mattered because of the mandatory life

sentence under the statute. See (N.T. Sent at 13). Thus, the existing record is

inadequate because none of the bases for a variance under Section 3553(a) were

relevant.7

         Third, as the Government agrees, (Gov’t Brief at 13-14), this Court may

consider evidence of Mr. Reaves’ post-sentence rehabilitation. See Pepper v.


7
    As Judge Caldwell explained:

              THE COURT: All right. I would like to say for the
              benefit of the family, if they don't already know it, that a
              conviction in this case under the law requires a mandatory
              sentence of life imprisonment, and the Court has no
              authority or ability to change that or to modify it.
              So the question of whether the Court is going to show
              mercy to Mr. Reaves has nothing to do with my duties. I
              am bound by the law, and I must follow the law.

(N.T. Sent. 13) (emphasis added).

                                            8
United States, 562 U.S. 476 (2011). Although Mr. Reaves attached a certificate

from the institution’s Acting Education Supervisor to his motion, see (Doc. 473-3),

he has many character letters and certifications that he would introduce as part of a

sentencing presentation. See, e.g., (Ex’s. “B” & “C”). For example, the letters

include not only those from friends and family, but also instructors within the

Bureau of Prisons. See (Ex. “B”). 8 And the certifications consist of his transcript

for his graduate equivalency diploma, as well as many courses including

computers, electronic library, legal drafting, and parenting. See (Ex. “C”).

Reviewing exhibits, however, does not compare to the information Your Honor

may learn from speaking directly to Mr. Reaves and those who wrote on his behalf.
                        9
See, e.g., (Ex. “A”).




8
 The Government seems to suggest that, because none of Mr. Reaves’ character
witnesses wished to address the court personally when Judge Caldwell imposed the
mandatory life term, there is no reason to allow them to do so now. See (Gov’t
Brief at 14). But at that time, their testimony would not have made any difference.

9
 At the resentencing for Mr. Potts, the district court conversed extensively with
him about his time in custody and his plans to avoid drugs and have a successful
reentry. (Ex. “A” at 26-27, 32-33). Another district court heard from the
defendant’s wife and sister before imposing a reduced sentence. See (Minute
Entry, United States v. Allen, No. 8:00-CR-0378 (M.D. Fla. Feb. 19, 2019)—Ex.
“D”).

                                          9
             D.    Because Mr. Reaves went to trial and then, in the
                   Government’s view, failed to show sufficient remorse when
                   Judge Caldwell imposed the mandatory life term, does not
                   provide a proper basis to deny him a resentencing.

      At the outset, the Government characterizes Mr. Reaves as having spent

“many years of his adult life in prison for drug dealing.” (Gov’t Brief at 1)

(emphasis added). Yet the reason Mr. Reaves has spent so many years in prison is

because of the mandatory life sentence that he is serving. Beyond this, the

Government maintains that any interest in allocution is minimal because, at his

original sentencing, Mr. Reaves “professed his innocence.” (Gov’t Brief at 14).

While it’s true that Mr. Reaves challenged the scope of the conspiracy and drug

weights, he also acknowledged his own fault. See (N.T. Sent. at 11). And given

the mandatory life sentence, there was no room in that proceeding for either

remorse or mercy. See (N.T. Sent. at 13).

      Now, however, there is considerable evidence that Mr. Reaves has gone a

long way toward changing his person and has accomplished many things. See,

e.g., (Ex’s “B” & “C”). These efforts are all the more telling given the life

sentence and the fact that, as a lifer, Mr. Reaves would be at the bottom of the

Bureau of Prisons’ priority for programming.




                                         10
III.   CONCLUSION

       For all of these reasons, Mr. Reaves requests that Your Honor grant him a

new sentencing hearing.



                                      Respectfully submitted,

Date: May 21, 2019                    /s/ Frederick W. Ulrich
                                      FREDERICK W. ULRICH, ESQUIRE
                                      Asst. Federal Public Defender
                                      Attorney ID# PA44208
                                      TAMMY L. TAYLOR, ESQUIRE
                                      Staff Attorney
                                      Attorney ID# PA73155

                                      100 Chestnut Street, Suite 306
                                      Harrisburg, PA 17101
                                      Tel. No. 717-782-2237
                                      Fax No. 717-782-3881
                                      fritz_ulrich@fd.org
                                      tammy_taylor@fd.org
                                      Attorneys for Ollie Reaves




                                        11
                         CERTIFICATE OF SERVICE


      I, Frederick W. Ulrich, Esquire, of the Federal Public Defender’s Office, do

hereby certify that I served a copy of the foregoing Reply Brief in Support of a

Resentencing Hearing by Electronic Case Filing, addressed to:

Eric Pfisterer, Esquire
Assistant United States Attorney

Joseph J. Terz, Esquire
Assistant United States Attorney



Date: May 21, 2019                    /s/ Frederick W. Ulrich
                                      FREDERICK W. ULRICH, ESQUIRE
                                      Asst. Federal Public Defender
                                      Attorney ID# PA44208
                                      TAMMY L. TAYLOR, ESQUIRE
                                      Staff Attorney
                                      Attorney ID# PA73155

                                      100 Chestnut Street, Suite 306
                                      Harrisburg, PA 17101
                                      Tel. No. 717-782-2237
                                      Fax No. 717-782-3881
                                      fritz_ulrich@fd.org
                                      tammy_taylor@fd.org
                                      Attorneys for Ollie Reaves




                                        12
